Case 1:14-cv-02887-JLK-MEH Document 121 Filed 02/20/18 USDC Colorado Page 1 of 2



                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 14-cv-02887-JLK

  ALEJANDRO MENOCAL,
  MARCOS BRAMBILA,
  GRISEL XAHUENTITLA,
  HUGO HERNANDEZ,
  LOURDES ARGUETA,
  JESUS GAYTAN,
  OLGA ALEXAKLINA,
  DAGOBERTO VIZGUERRA,
  DEMETRIO VALEGRA,

         Plaintiff,

  v.

  CALIFORNIA CASUALTY MANAGEMENT COMPANY,

         Defendant.


                                          MINUTE ORDER

  Entered by Michael E. Hegarty, United States Magistrate Judge, on February 20, 2018.

         Pursuant to the Order of Reference issued by the Honorable John L. Kane, ECF No. 116, the
  Court will hold a Settlement Conference in this case on May 2, 2018 at 10:00 a.m. in Courtroom
  A501 on the fifth floor of the Alfred A. Arraj United States Courthouse, 901 19th Street, Denver,
  Colorado.

          Counsel shall have all parties present, including, but not limited to, an adjustor if an
  insurance company is involved, who shall have full authority to negotiate all terms and demands
  presented by the case, and full authority to enter into a settlement agreement. “Full authority” means
  that the person who attends the settlement conference has the complete and unfettered capacity and
  authority to meet or pay all terms or amounts which are demanded or sought by the other side of the
  case without consulting with some other person, committee or agency. If any person has limits
  upon the extent or amount within which he or she is authorized to settle on behalf of a party, that
  person does not have “full authority.” This requirement is not fulfilled by the presence of
  counsel or an insurance adjustor alone.

         In exceptional circumstances only, the appearance of an insurance representative by
  telephone may be approved in advance of the conference. Any party seeking such relief should file
  the appropriate motion with the Court.

         No person is ever required to settle a case on any particular terms or amounts. However, if
Case 1:14-cv-02887-JLK-MEH Document 121 Filed 02/20/18 USDC Colorado Page 2 of 2



  any person attends the settlement conference without full authority, or if a party or insurance
  representative fails to attend the settlement conference without prior Court approval, and the case
  fails to settle, that party may be ordered to pay the attorney’s fees and costs for the other side.
  Furthermore, if, prior to the conference, one or both parties believe that the matter may not be ripe
  for negotiations, the parties may contact Chambers to reschedule the conference to a more
  appropriate time.

          So that we may hold productive settlement discussions on the day of the conference, counsel
  shall prepare and submit two settlement documents: one to be submitted to the other party or
  parties, and the other to be submitted by email only to the Magistrate Judge.

          The document(s) which are presented to opposing counsel shall contain an overview of the
  case from the presenter’s point of view, shall summarize the evidence which supports that side’s
  claims, and may present a demand or offer. These documents should be intended to persuade the
  opposing clients and counsel.

         The second document shall be emailed to the Magistrate Judge (not submitted for filing to
  the court) at Hegarty_Chambers@cod.uscourts.gov. This document shall contain the content or
  copies of the first document along with any confidential comments the party or counsel wishes to
  make, including any comments with regard to perceived weaknesses in the case and any comments
  which would be helpful to the Magistrate Judge in assisting the parties to negotiate a settlement.

          The settlement documents shall be submitted no later than five business days prior to the
  date of the settlement conference. Statements and exhibits consisting of more than 30 pages are to
  be submitted to Chambers in hard copy via regular mail or hand delivery.

        Please remember that anyone seeking entry into the Alfred A. Arraj United States
  Courthouse will be required to show a valid photo identification. See D.C. Colo. LCivR 83.2(b).


         Finally, please know that the courthouse is not equipped with wireless access.




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